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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS                             FEB05
                                                                                               2018
                                 DEL RIO DIVISION                                 LERuso
 IDALIA ZAPATA,                                   §
     Plaintiff,                                   §
                                                  §     Civil Action No.
 v.                                               §     DR-17-CV-057-AMIVRG
                                                  §
 HUDSON INSURANCE COMPANY,                        §
     Defendant.                                   §


                        ORDER OF DISMISSAL WITH PREJUDICE

       On January 9, 2018, the parties filed a joint motion to dismiss with prejudice that complies

with the requirements of Federal Rule of Civil Procedure 41 (a)( 1 )(A)(ii).

       IT IS THEREFORE ORDERED that the joint motion to dismiss (ECF No. 11) is

GRANTED and that the Plaintiffs claims asserted in this suit against the Defendant are

DISMISSED WITH PREJUDICE as set forth in the agreed motion. Each party shall bear its own

costs and fees. IT IS FURTHER ORDERED that all motions pending in the instant action be

DENIED as moot and that a clerk's judgment shall immediately issue.

        SIGNED this 5th day of February, 2018.




                                              LIA MOSES
                                             UNITED STATES DISTRICT JUDGE
